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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA
                                WESTERN DIVISION

The State of KANSAS, the State of NORTH
DAKOTA, the State of ALABAMA, the State of
IDAHO, the State of INDIANA, the State of
IOWA, the State of MISSOURI, the State of
MONTANA, the State of NEBRASKA, the State
of NEW HAMPSHIRE, the State of OHIO, the
State of SOUTH CAROLINA, the State of
SOUTH DAKOTA, the State of TENNESSEE,
and the Commonwealth of VIRGINIA,
                                                   Civil Action No. ______________
                             Plaintiffs,

v.

UNITED STATES OF AMERICA and the
CENTERS FOR MEDICARE & MEDICAID
SERVICES,

                             Defendants.

             COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

I.     INTRODUCTION AND NATURE OF THE ACTION

       1.     Plaintiff States bring this civil action under the Administrative Procedure Act

(APA) challenging the final administrative rule promulgated by the Centers for Medicare &

Medicaid Services (CMS), which expands CMS’ definition of individuals “lawfully present” in

the United States to include aliens granted Deferred Action for Childhood Arrivals (DACA).

This definition affects coverage under the Affordable Care Act (ACA).

       2.     Congress has already limited eligibility for federal public benefits to certain

qualified aliens in the 1996 Personal Responsibility and Work Opportunity Reconciliation Act

(PRWORA).
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       3.      Aliens who have been granted deferred action under DACA are not included in

the definition of such qualified aliens.

       4.      Many categories of aliens who have been granted employment authorization

under 8 C.F.R. § 274a.12(c) (2023) are also not included in the definition of such qualified aliens.

       5.      Similarly, when it enacted the ACA, Congress limited eligibility to participate in a

qualified health plan through a subsidized exchange to only “citizen[s] or national[s] of the

United States [and] aliens lawfully present in the United States.” 42 U.S.C. § 18032(f)(3).

       6.      DACA recipients are, by definition, unlawfully present in the United States.

       7.      Indeed, eligibility for DACA requires unlawful presence in the United States; DHS

has merely deferred immigration enforcement action against DACA recipients based on its

assertion of prosecutorial discretion. See Memorandum from Janet Napolitano, Sec’y of

Homeland Sec., to David V. Aguilar, Acting Comm’r of U.S. Customs & Border Protection, et al.

(June 15, 2021), available at https://www.dhs.gov/xlibrary/assets/s1-exercising-prosecutorial-

discretion-individuals-who-came-to-us-as-children.pdf [hereinafter “DACA Memorandum”].

       8.      The final rule challenged by this litigation is entitled “Clarifying the Eligibility of

Deferred Action for Childhood Arrivals (DACA) Recipients and Certain Other NonCitizens for

a Qualified Health Plan Through an Exchange, Advance Payments of the Premium Tax Credit,

Cost-Sharing Reductions, a Basic Health Program” (the Final Rule). The Final Rule was

published in the Federal Register at 89 Fed. Reg. 39,392 on May 8, 2024.

       9.      The Final Rule amends CMS’ definition of “lawfully present” for public healthcare

benefits to now include unlawfully present aliens who have been granted deferred action under

DACA. 89 Fed. Reg. at 39,395.

       10.     The Final Rule also amends CMS’ previous definition of “lawfully present” to

include any alien granted employment authorization under § 274a.12(c), rather than the seven


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enumerated categories in § 274a.12(c) who had previously been eligible. 89 Fed. Reg. at 39,408.

         11.     The Final Rule’s new definition of “lawfully present” is both contrary to law and

arbitrary and capricious because: (a) it contradicts the statutory definition of a “qualified alien”

eligible for public benefits; and (b) because the action deferred under DACA (i.e., removal) is

applicable only to aliens who lack lawful immigration status.

II.      THE PARTIES

         12.     Plaintiffs are all sovereign states of the United States of America, suing to

vindicate their sovereign, quasi-sovereign, and proprietary interests; the financial condition of

themselves and their individual citizens; and their citizens’ health, safety, and welfare.

         13.     Plaintiffs bring suit through their respective Attorneys General, who are each the

chief legal officer of their state and have the authority to represent their state in federal court.

         14.     CMS is a sub-agency of the Department of Health and Human Services (HHS).

         15.     CMS issued the rule that is the subject of this litigation.

         16.     CMS meets the definition of “agency” in 5 U.S.C. § 701(b)(1).

         17.     Defendant United States of America is a proper party under 5 U.S.C. § 703.

III.     JURISDICTION AND VENUE

         18.     The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331.

         19.     Under 5 U.S.C. § 702, the federal government has waived immunity from suits

under the Administrative Procedure Act.

         20.     The Court is authorized to postpone the effective date of the Final Rule and

award the requested declaratory and injunctive relief under 5 U.S.C. §§ 705–06 and 28 U.S.C. §§

1361, 2201–02.

         21.     Venue lies in federal district courts generally pursuant to 5 U.S.C. § 703 because

the ACA does not specify a special statutory review proceeding for this action.


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        22.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(e)(1)(C) because

Plaintiff North Dakota resides in the District and no real property is involved in this action.

IV.     BACKGROUND

        A.      Statutory and Regulatory Framework

        23.     In PRWORA, Congress announced a “compelling government interest to remove

the incentive for illegal immigration provided by the availability of public benefits.” 8 U.S.C.

§ 1601(6).

        24.     Congress thus provided that, “[n]othwithstanding any other provision of law,”

and subject to certain explicit exceptions, “an alien who is not a qualified alien . . . is not eligible

for any Federal public benefit.” 8 U.S.C. § 1611(a). Congress defined a “qualified alien” to include

only lawful permanent residents, asylees, refugees, parolees granted parole for a period of at least

one year, aliens granted withholding of removal under specifically identified subsections of the

Immigration and Nationality Act (INA) (generally having to do with restrictions on removal to a

country where the alien’s life or freedom would be threatened), and certain battered aliens. Id. §§

1641(b), (c).

        25.     ACA benefits are not exempt from the definition of “any Federal benefit.” And

DACA recipients are not included in the definition of “qualified alien.”.

        26.     Similarly, under the ACA, an individual must be either a citizen or national of the

United States or be “lawfully present” in the United States in order to be eligible to enroll in a

Qualified Health Plan (QHP) through a subsidized health exchange. See 42 U.S.C.§ 18032(f)(3).

        27.     The ACA also requires CMS to verify that health exchange applicants are lawfully

present in the United States. 42 U.S.C. § 18081(c)(2)(B).

        28.     CMS has interpreted the phrase “lawfully residing” as synonymous with “lawfully

present” since at least 2010.


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       29.    In August 2012—two years after the ACA was enacted, and after DHS first

implemented its DACA program—CMS amended its regulatory definition of “lawfully present”

at 45 C.F.R. § 152.2 to expressly state that an alien granted deferred action under DHS’s DACA

policy was not considered “lawfully present.” See Pre-Existing Condition Insurance Plan

Program, 77 Fed. Reg. 52,614, 52,615–16 (Aug. 30, 2012).

       30.    In 2014, CMS issued regulations for Basic Health Programs (BHP), which also

adopted the definition of “lawfully present” at 45 C.F.R. § 152.2, thereby aligning the definition

of “lawfully present” for a BHP with the definition used for ACA exchanges.

       31.    Accordingly, since the DACA program was created, DACA recipients have been

ineligible to enroll in a QHP through an ACA exchange, ineligible for tax credits or premium

cost sharing reductions in connection with such enrollment, and ineligible to enroll in a BHP

because they are not considered “lawfully present” for purposes of these programs.

       B.     The Final Rule

       32.    Now, through the Final Rule, CMS reverses course and proclaims that DACA

recipients are in fact “lawfully present” for purposes of receiving taxpayer-funded healthcare

benefits through the ACA.

       33.    Notwithstanding public comments pointing out that Congress has not included

DACA recipients in the class of “qualified aliens” eligible for public benefits,1 CMS’s Final Rule

includes both DACA recipients and employment-authorized aliens in its definition of those

aliens “lawfully present” for purposes of ACA eligibility.




1 E.g., Office of the Kan. Attorney Gen. et al, Comment on Docket ID No. CMS-9894-P (June 23,

2023), available at https://www.regulations.gov/comment/CMS-2023-0068-0525.


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       34.     CMS justified its change of position by citing “the broad aims of the ACA to in-

crease access to health coverage” 89 Fed. Reg. at 39,395. According to CMS, the prior practice of

excluding DACA recipients “failed to best effectuate congressional intent in the ACA.” Id. Defin-

ing DACA recipients as lawfully present, the agency claims, “aligns with the goals of the ACA—

specifically, to lower the number of people who are uninsured in the United States and make af-

fordable health insurance available to more people.” 89 Fed. Reg. at 39,396.

       35.     CMS also claims it was motivated by the national economic importance of DACA

recipients, by their desire to support the DACA policy, and by the disproportionately high per-

centage of uninsured DACA recipients. 89 Fed. Reg. at 39,395-6.

       36.     In light of these justifications, CMS declared that they “see[] no reason to treat

DACA recipients differently from other noncitizens who have been granted deferred action.” 89

Fed. Reg. at 39,396.

       37.     Last year, a federal district court enjoined and vacated DHS’s DACA rule. See Texas

v. United States, Civil Action No. 1:18-CV-00068, 2023 WL 5950808, at *1 (S.D. Tex. Sept. 13,

2023). The court’s order allowed DHS to continue to administer the DACA program for

individuals who registered prior to July 16, 2021.

       38.     CMS acknowledged the Texas injunction in a footnote to the Final Rule, noting

that “[c]urrent court orders prohibit DHS from fully administering the DACA final rule.

However a partial stay permits DHS to continue processing DACA renewal requests and related

applications for employment authorization documents.” 89 Fed. Reg. at 39,395.

       39.     CMS also proposed to add to the definition of “lawfully present,” in addition to

DACA recipients, any alien granted employment authorization under 8 C.F.R. § 274a.12(c). This

expands the number of categories of aliens considered lawfully present from the seven




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enumerated categories under the old definition2 to all thirty-six categories covered under

§ 274a.12(c). 89 Fed. Reg. at 39,408. CMS’ only justification for this change was that it would be

easier to determine who was lawfully present if they could include anyone with DHS work

authorization. 89 Fed. Reg. at 34,408.

       40.     Even so, CMS implicitly acknowledged that this definition of “lawfully present”

would include some noncitizens who were not lawfully present: “Almost all noncitizens granted

employment authorization under 8 CFR § 274a.12(c) are already considered lawfully present

under existing regulations.” 89 Fed. Reg. at 34,408 (emphasis added). In other words, CMS’s

new definition of “lawfully present” includes some noncitizens that even CMS recognizes are not

lawfully present.

       41.     CMS also acknowledged in the Final Rule that individuals who are not qualified

aliens under PRWORA, and who are therefore ineligible for federal and state benefits, may

nonetheless qualify for work authorization under § 274a-12(c): See 89 Fed. Reg. at 39,409.

       42.     CMS’s justification for this result is a circular non-sequitur: “we believe it is

appropriate to include all individuals with such [§ 274a.12(c)] employment authorization

because DHS has made an affirmative determination that the individual has an underlying

immigration status or category that authorizes them to work legally in the United States.” Id.

V.     IRREPARABLE HARM

       43.     The Final Rule is expected to result in 200,000 DACA recipients becoming newly

eligible for a subsidized health plan. See 88 Fed. Reg. at 25,325.

       44.     As of December 31, 2023, there were approximately 530,110 active DACA



2 Former § 152.2(4)(iii) defined “Lawfully present” to include “Aliens who have been granted em-

ployment authorization under 8 CFR § 274a.12(c)(9), (10), (16), (18), (20), (22), or (24).”


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recipients distributed across the nation. U.S. Citizenship & Immigr. Servs., Office of

Performance & Quality, Count of Active DACA Recipients By State or Territory As of December

31, 2023 (queried Aug. 2024), available at

https://www.uscis.gov/sites/default/files/document/data/active_daca_recipients_fy2024_q1.xlsx

[hereinafter “DACA Recipients by State”].

        45.     According to U.S. Citizenship and Immigration Services, the (rounded) number of

DACA recipients in each Plaintiff State is as follows:

        Alabama              3,460

        Idaho                2,250

        Indiana              7,450

        Iowa                 2,010

        Kansas               4,350

        Missouri             2,550

        Montana              80

        Nebraska             2,420

        New Hampshire        220

        North Dakota         130

        Ohio                 3,290

        South Carolina       4,840

        South Dakota         190

        Tennessee            6,360

        Virginia             7,810

Id.

        46.     Plaintiff Idaho administers its own state-run ACA exchanges to handle QHP


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enrollment. Idaho’s exchange is called “Your Health Idaho.”

        47.     Plaintiff Virginia administers its own state-run ACA exchanges to handle QHP

enrollment. Virginia’s exchange is called “Virginia’s Insurance Marketplace.”

        48.     Expanding eligibility for ACA coverage will impose additional administrative and

resource burdens on states that have established their own ACA exchange by allowing

additional persons to use such exchanges.

        49.     The vast majority of exchange enrollees are receiving a federal subsidy to lower

their monthly premium. See, e.g., Sullivan, Orris & Lukens, Center on Budget and Policy

Priorities, Entering Their Second Decade, Affordable Care Act Coverage Expansions Have Helped Millions,

Provide the Basis for Further Progress, available at: https://www.cbpp.org/research/health/entering-

their-second-decade-affordable-care-act-coverage-expansions-have-helped (“In February 2023,

91% of marketplace enrollees were receiving PTCs [premium tax credits].”); see also CMS

Effectuated Enrollment: Early 2024 Snapshot and Full Year 2024 Average, available at:

https://www.cms.gov/files/document/early-2024-and-full-year-2023-effectuated-enrollment-

report.pdf (“In February 2024, 19.3 million Marketplace enrollees, or 93 percent of total

Marketplace enrollees, received APTC”) (last visited August 2, 2024).

        50.     For instance, Kansas had 102,303 enrollees in February 2022; of those, 92%

received tax credits and 47% qualified for a cost sharing reduction. Similarly, 91% of the

enrollees in North Dakota received tax credits, with 26% qualifying for a cost sharing reduction.

Id.

        51.     Subsidized health insurance through the ACA is a valuable public benefit that

encourages unlawfully present alien beneficiaries to remain in the United States.

        52.     The vast majority of DACA recipients have limited access to subsidized health

care in their countries of origin. Where subsidized health care is available in their countries of


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origin, necessary drugs and medical equipment are often in short supply or unavailable.

       53.     The financial value of eligibility for ACA coverage providing access to superior

medical care in the United States, when compared to limited or inadequate subsidized health

care in an alien’s country of origin, constitutes a significant financial incentive for the alien to

remain in the United States.

       54.     It is likely that aliens who would otherwise have returned to their countries of

origin will instead remain in the United States because of the eligibility for ACA coverage

provided by the Final Rule.

       55.     Plaintiff States suffer fiscal costs through the continued presence of DACA

recipients in their respective jurisdictions. The Final Rule incentivizes DACA recipients, their

children, and minors currently residing in Plaintiff States whose parents illegally entered the

United States to remain in Plaintiff States and thereby causes Plaintiff States to expend

additional education, healthcare, law enforcement, public assistance, and other limited

resources.

       56.     DACA recipients are able to obtain driver’s licenses in Plaintiff States. See, e.g.,

Tenn. Code Ann. § 4-58-103; Arizona Dream Act Coalition v. Brewer, 855 F.3d 957 (9th Cir. 2017),

(cert denied 138 S.Ct. 1279) (2018) (enjoining Arizona’s policy of refusing to issue driver’s

licenses to DACA recipients).

       57.     And, for many of the Plaintiff States, at least some proportion of driver’s licenses

are issued at a net cost to the state, over and above the fee paid by the license applicant.

       58.     Every Plaintiff State has a compulsory school-attendance law and incurs a

substantial cost to educate school-aged children. See Tenn. Code Ann. § 49-6-3001(c)(1).

       59.     Under current caselaw, states must allow minors who are not lawfully present in

the United States to attend their schools. Plyler v. Doe, 457 U.S. 202, 223–30 (1982).


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Consequently, all the Plaintiff States incur costs through the provision of K–12 public education

to DACA recipients and their children, since some portion of the DACA recipients are either the

parents of K–12 school-age children or are themselves K–12 school-age children.

       60.        DACA recipients also consume public benefits in the form of public-assistance,

indigent legal defense, and emergency-care expenditures in Plaintiff States.

       61.        States also bear the costs of the DACA program in the form of incarceration of

DACA recipients who commit crimes. U.S. Citizenship and Immigration Services, DACA

Requestors with an IDENT Response: November 2019 Update, at 1, available at:

https://tinyurl.com/ytrrhwj7 (between 2012 and October 2019, nearly 80,000 illegal aliens with

prior arrest records were granted DACA status).

       62.        The current administration has signaled that it intends not only “to preserve and

fortify” DACA, but also to continue to grant initial DACA requests (though it admits that it

cannot do so because of an injunction in ongoing litigation). See Consideration of Deferred

Action for Childhood Arrivals (DACA), https://www.uscis.gov/DACA (last visited Aug. 2,

2024). Thus DHS, under the present administration, intends to reopen the DACA program as

soon as it can.

       63.        If DACA were re-opened to new applicants, the aforementioned costs to Plaintiff

States would increase as new individuals register as DACA recipients.

       64.        For example, focusing on Plaintiff State of Kansas, as of December 31, 2024,

approximately 4,350 DACA recipients reside in Kansas. DACA Recipients by State, supra. One

organization has estimated that, as of March 31, 2024, 9,000 individuals live in Kansas who are

part of the immediately eligible population (i.e., immediately eligible for DACA). Deferred

Action for Childhood Arrivals (DACA) Data Tools,

https://www.migrationpolicy.org/programs/data-hub/deferred-action-childhood-arrivals-daca-


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profiles (last visited Aug. 2, 2024) (providing DACA recipients and eligible population by state).

       65.     Furthermore, the availability of ACA coverage will encourage some amount of

additional illegal immigration by those believing they or their family members will be eligible for

DACA in the future.

       66.     Some number of those aliens will make their way to Plaintiff States. Kansas

already has between 69,000 and 140,000 illegal aliens residing in it, many of whom are uninsured

and a sizable proportion of whom have incomes below the poverty line. Federation for American

Immigration Reform, The Fiscal Burden of Illegal Immigration on United States Taxpayers, at 40 (Mar. 8,

2023), https://tinyurl.com/yzdh3rvk (between 104,000 and 140,000) [“FAIR Report”]; Profile of

the Unauthorized Population: Kansas, Migration Policy Institute,

https://www.migrationpolicy.org/data/unauthorized-immigrant-population/state /KS (last

visited Aug. 23, 2023) (69,000); U.S. Unauthorized Immigrant Population Estimates by State, 2016, Pew

Research Ctr. (Feb. 5, 2019), https://www.pewresearch.org/hispanic/interactives/u-s-

unauthorized-immigrant s-by-state/ (75,000). This costs Kansas taxpayers between $447

million and $603 million per year. FAIR Report at 40.

       67.     In North Dakota, it is estimated that there are approximately 6,000 to 9,000

illegal aliens residing in the State, including their children, costing taxpayers between

approximately $27 million and $36 million per year. FAIR Report at 40.

       68.     In Alabama, it is estimated that there are approximately 91,000 to 122,000 illegal

aliens residing in the State, including their children, costing taxpayers between approximately

$391 million and $524 million per year. Id.

       69.     In Idaho, it is estimated that there are approximately 62,000 to 83,000 illegal

aliens residing in the State, including their children, costing taxpayers between approximately

$302 million and $405 million per year. Id.


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       70.     In Indiana, it is estimated that there are approximately 154,000 to 207,000 illegal

aliens residing in the State, including their children, costing taxpayers between approximately

$685 million and $921 million per year. Id.

       71.     In Iowa, it is estimated that there are approximately 55,000 to 74,000 illegal aliens

residing in the State, including their children, costing taxpayers between approximately $239

million and $322 million per year. Id.

       72.     In Missouri, it is estimated that there are approximately 77,000 to 104,000 illegal

aliens residing in the State, including their children, costing taxpayers between approximately

$342 million and $462 million per year. Id.

       73.     In Montana, it is estimated that there are approximately 8,000 to 10,000 illegal

aliens residing in the State, including their children, costing taxpayers between approximately

$29 million and $39 million per year. Id.

       74.     In Nebraska, it is estimated that there are approximately 56,000 to 75,000 illegal

aliens residing in the State, including their children, costing taxpayers between approximately

$251 million and $337 million per year. Id.

       75.     In New Hampshire, it is estimated that there are approximately 14,000 to 19,000

illegal aliens residing in the State, including their children, costing taxpayers between

approximately $79 million and $107 million per year. Id.

       76.     In Ohio, it is estimated that there are approximately 132,000 to 178,000 illegal

aliens residing in the State, including their children, costing taxpayers between approximately

$582 and $785 million per year. Id.

       77.     In South Carolina, it is estimated that there are approximately 117,000 to 157,000

illegal aliens residing in the State, including their children, costing taxpayers between

approximately $555 million and $746 million per year. Id.


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        78.    In South Dakota, it is estimated that there are approximately 9,000 to 12,000

illegal aliens residing in the State, including their children, costing taxpayers between

approximately $26 million and $35 million per year. Id.

        79.    In Tennessee, it is estimated that there are approximately 162,000 to 218,000

illegal aliens residing in the State, including their children, costing taxpayers between

approximately $721 million and $971 million per year. Id.

        80.    In Virginia, it is estimated that there are approximately 419,000 to 563,000 illegal

aliens residing in the State, including their children, costing taxpayers between approximately

$2.1 billion and $2.8 billion per year. Id.

VI.     CLAIMS FOR RELIEF

                                               COUNT I

        Administrative Procedure Act – Agency action not in accordance with the law

        81.    Plaintiffs incorporate by reference all preceding paragraphs.

        82.    Under the APA, a court must “hold unlawful and set aside agency action” that is

“not in accordance with law” or “in excess of statutory . . . authority, or limitations, or short of

statutory right.” 5 U.S.C. § 706(2)(A), (C) (2018).

        83.    The provision of ACA public healthcare benefits to DACA recipients violates two

separate provisions of federal law: (1) the PRWORA prohibition against providing ineligible

aliens public benefits; and (2) the exclusion of unlawfully present aliens found in the ACA itself.

        84.    First, the Final Rule violates the PRWORA. Aliens granted deferred action from

deportation—including those in the DACA program—are not included within Congress’

definition of “qualified alien,” nor do they fall within an exception to the prohibition on public

benefits.

        85.    Subsidies provided to newly eligible QHP enrollees in an ACA exchange as a


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result of the Final Rule constitute a federal public benefit under PRWORA.

       86.     However, in PRWORA, Congress broadly and expressly prohibited non-qualified

aliens from receiving any federal public benefit “[n]otwithstanding any other provision of law,” 8

U.S.C. § 1611(a).

       87.     Phrases such as “notwithstanding any other provision of law” “broadly sweep

aside potentially conflicting laws.” United States v. Novak, 476 F.3d 1041, 1046 (9th Cir. 2007).

       88.     Because DACA recipients do not fall within the definition of “qualified alien” as

set forth by Congress, they are statutorily ineligible for ACA benefits.

       89.     CMS’ Final Rule, by including aliens granted deferred action under DACA and

aliens granted work authorization in its definition of aliens “lawfully present” in the United

States, is both “not in accordance” with the PRWORA and “in excess of statutory . . . authority,”

5 U.S.C. § 706(2)(A), (C), and should be postponed pending judicial review, vacated, and

enjoined under the APA (5 U.S.C. §§ 705 & 706).

       90.     Second, the Final Rule violates the plain text of the ACA itself. In the ACA,

Congress limited eligibility to participate in a qualified health plan through a subsidized health

exchange to citizens or nationals of the United States and individuals “lawfully present” in the

United States. 42 U.S.C. § 18032(f)(3).

       91.     DACA recipients are, by definition, not lawfully present in the United States. The

DACA Memorandum merely “provides that an illegal alien qualifies for relief from removal.”

Texas v. United States, 50 F.4th 498, 508 (2022). See 8 C.F.R. § 236.22(b)(4) (limiting DACA

availability to aliens who lack lawful immigration status); see also 8 U.S.C. § 1182(a)(6)(A)(i)

(“An alien present in the United States without being admitted or paroled, or who arrives in the

United States at any time or place other than as designated by the Attorney General, is

inadmissible.”); id. § 1229a(a)(2) (noting that inadmissible aliens are removable).


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       92.     DACA recipients are therefore legally ineligible to receive ACA benefits.

       93.     So is every unlawfully present alien with a DHS employment authorization.

       94.     The Final Rule, by including aliens granted deferred action under DACA and

aliens granted work authorization in its definition of aliens “lawfully present,” is both “not in

accordance” with the PRWORA and the ACA, and “in excess of statutory . . . authority,” 5

U.S.C. § 706(2)(A), (C), and should therefore be postponed pending judicial review, vacated,

and enjoined under the APA (5 U.S.C. §§ 705 & 706).

                                            COUNT II

                                APA – Arbitrary and Capricious

       95.     Plaintiffs incorporate by reference all preceding paragraphs.

       96.     Under the APA, a court must “hold unlawful and set aside agency action” that is

“arbitrary, capricious [or] an abuse of discretion.” 5 U.S.C. § 706(2)(A).

       97.     An agency acts arbitrarily and capriciously under the APA when it departs

sharply from prior practice without reasonable explanation; or fails to consider costs or affected

communities’ reliance on the prior rule.

       98.     In promulgating the Final Rule, Defendants failed to provide a reasonable

explanation for the complete reversal from past practice.

       99.     CMS’ decision to bestow DACA recipients with the status of being “lawfully

present” is illogical on its face, because the “action” that is deferred in DACA is the unlawfully

present alien’s removal. See 8 C.F.R. § 236.22(b)(4) (limiting DACA availability to aliens who

lack lawful immigration status); see also 8 U.S.C. § 1182(a)(6)(A)(i) (“An alien present in the

United States without being admitted or paroled, or who arrives in the United States at any

time or place other than as designated by the Attorney General, is inadmissible.”); id. §

1229a(a)(2) (noting that inadmissible aliens are removable). CMS’s determination that deferred


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action recipients are lawfully present is obviously a self-contradiction: it defines as “lawfully

present” the class of individuals whom DHS is deferring removal action based on their unlawful

presence.

       100.    As the Eleventh Circuit explained, DACA recipients are simply “given a reprieve

from potential removal; that does not mean they are in any way ‘lawfully present’ under the

[INA].” Estrada v. Becker, 917 F.3d 1298, 1305 (11th Cir. 2019).

       101.    Similarly, the Southern District of Texas has explained that “the INA expressly

and carefully provides legal designations allowing defined classes of aliens to be lawfully

present, and Congress has not granted the Executive Branch free rein to grant lawful presence to

persons outside the ambit of the statutory scheme.” Texas v. United States, 549 F. Supp. 3d 572,

609-10 (S.D. Tex. 2021) (internal quote omitted), aff’d in relevant part, 50 F.4th 498 (5th Cir.

2022). As the Fifth Circuit put it later in the same litigation:

        DACA creates a new class of otherwise removable aliens who may obtain lawful
        presence, work authorization, and associated benefits. Congress determined
        which aliens can receive these benefits, and it did not include DACA recipients
        among them. We agree with the district court's reasoning and its conclusions that
        the DACA Memorandum contravenes comprehensive statutory schemes for re-
        moval, allocation of lawful presence, and allocation of work authorization.

Texas, 50 F.4th at 526.

       102.    CMS also acted arbitrarily and capriciously because it inadequately considered

costs to the states outlined in ¶¶ 43–80.

       103.    CMS also acted arbitrarily and capriciously because it did not take into account

States’ reliance interests on the previous definitions. States established insurance exchanges in a

regulatory environment that did not include thousands of unlawfully present DACA recipients

as an eligible population.

       104.    As the various laws relating to driver’s licenses and other benefits available for


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DACA recipients attest, States have made specific choices regarding the benefits to DACA

recipients. CMS, however, is expanding huge programs to the DACA population independent of

the States’ reliance interests and the choices States have made regarding when and when not to

include DACA recipients in state benefits.

       105.   Defendants’ Final Rule treating such aliens as “lawfully present” is unreasonable,

arbitrary, and capricious and should be enjoined under the APA, 5 U.S.C. § 706.

VII.   PRAYER FOR RELIEF

       For the foregoing reasons, Plaintiffs ask this Court to:

       a.     Postpone the effective date of the Final Rule pending judicial review;

       b.     Vacate the Final Rule as both contrary to law and unreasonable, arbitrary, and

capricious;

       c.     Enjoin Defendants from implementing the Final Rule;

       d.     Award Plaintiffs their costs and reasonable attorney’s fees under 28 U.S.C. § 2412

or other applicable law; and

       e.     Award such other and further relief as this Court deems equitable and just.


              Respectfully submitted, this 8th day of August, 2024,

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